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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND




    UNITED STATES OF AMERICA                           :
                                                       :
                   V.                                  :     CRIMINAL NO. RWT-04-235
                                                       :
                                                       :
      PAULETTE MARTIN, et al                  :
                                                  ...oooOooo...


                                              LINE

Madam Clerk:

       Please enter the appearance of Michael Packard as counsel for the government for all

purposes in the above-captioned case.

                                              Respectfully submitted,

                                              Rod Rosenstein
                                              United States Attorney



                                        By:       /s/
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